Case 2:23-cv-00936-AMA-CMR              Document 107       Filed 02/21/25     PageID.875    Page 1
                                               of 4




 Stuart H. Schultz, #02886
 STRONG & HANNI
 102 South 200 East, Suite 800
 Salt Lake City, UT 84111
 Telephone: (801) 532-7080
 Facsimile: (801) 596-1508
 sschultz@strongandhanni.com
 Attorney for Defendant Mary Street


                        IN THE UNITED STATES DISTRICT COURT

                                        DISTRICT OF UTAH


   KATE GRANT AND KARMANN
   KASTEN, LLC,
                                                      DEFENDANT MARY STREET’S RULE
                          Plaintiffs,                        7.1 DISCLOSURE
   v.
                                                                 Case No.: 2:23-cv-00936
   KEVIN LONG; MILLCREEK
   COMMERCIAL PROPERTIES, LLC;                                            Judge:
   COLLIERS INTERNATIONAL; BRENT
   SMITH; SPENCER TAYLOR; BLAKE
   MCDOUGAL; and MARY STREET,

                          Defendants.


         Defendant Mary Street (“Street”) makes this Rule 7.1 disclosure. Street is not an entity.

 She is a citizen of the United States and the State of Utah. Plaintiffs have confirmed in their

 disclosure that jurisdiction is not founded upon diversity of citizenship.

                                                  DATED this 21st day of February 2025.

                                                  STRONG & HANNI

                                                        /s/ Stuart H. Schultz
                                                  By ____________________________________
                                                     Stuart H. Schultz
Case 2:23-cv-00936-AMA-CMR           Document 107      Filed 02/21/25    PageID.876     Page 2
                                            of 4




                                                   Attorney for Defendant Mary Street


                                CERTIFICATE OF SERVICE

        I hereby certify that on this Friday, February 21, 2025, I caused the foregoing

 DEFENDANT MARY STREET’S RULE 7.1 DISCLOSURE was served by the method

 indicated below on the following:

          Stephen K. Christiansen (6512)       ( )      U.S. Mail, Postage Prepaid
          Randall S. Everett (18916)           ( )      Hand Delivery
          CHRISTIANSEN LAW, PLLC               ( )      Overnight Mail
          311 South State Street, Ste. 250     ( )      E-mail
          Salt Lake City, Utah 84111           (X)      E-filing Notification
          Telephone: 801.716.7016
          Facsimile: 801.716.7017
          steve@skclawfirm.com
          randy@skclawfirm.com
          Attorneys for Plaintiffs

          Bentley J. Tolk                      ( )      U.S. Mail, Postage Prepaid
          Rodger Moore Burge                   ( )      Hand Delivery
          Terry E. Welch                       ( )      Overnight Mail
          PARR BROWN GEE & LOVELESS            ( )      E-mail
          101 S 200 E STE 700                  (X)      E-filing Notification
          SALT LAKE CITY, UT 84111
          (801) 532-7840
          btolk@parrbrown.com
          rburge@parrbrown.com
          twelch@parrbrown.com
          Paralegal: cyancey@parrbrown.com
          Attorneys for Kevin Long

          JOHN E. KEITER (#16487)              ( )      U.S. Mail, Postage Prepaid
          KEITER LAW, P.C.                     ( )      Hand Delivery
          50 W. Broadway Ste. 307              ( )      Overnight Mail
          Salt Lake City, Utah 84111           ( )      E-mail
          Telephone: (801) 633-0559            (X)      E-filing Notification
          Facsimile: (801) 776-1121
          john@keiterlaw.com
          Attorney for Brent Smith
                                             -2-
Case 2:23-cv-00936-AMA-CMR        Document 107         Filed 02/21/25    PageID.877   Page 3
                                         of 4




        James D. Gilson (5472)                   ( )    U.S. Mail, Postage Prepaid
        james.gilson@dentons.com                 ( )    Hand Delivery
        DENTONS DURHAM JONES                     ( )    Overnight Mail
        PINEGAR P.C.                             ( )    E-mail
        111 South Main Street, Suite 2400        (X)    E-filing Notification
        Salt Lake City, UT 84111
        Telephone: (801) 415-3000

        Andrew V. Wright (11071)
        andy.wright@dentons.com
        David B. Nielson (16531)
        david.nielson@dentons.com
        DENTONS DURHAM JONES
        PINEGAR P.C.
        1557 W. Innovation Way, Suite 400
        Lehi, Utah 84043
        Telephone: (801) 375-6600
        Attorneys for Colliers International

        J. Ryan Mitchell                         ( )    U.S. Mail, Postage Prepaid
        Christopher A. Langston                  ( )    Hand Delivery
        Mika Hillery                             ( )    Overnight Mail
        MITCHELL BARLOW &                        ( )    E-mail
        MASFIELD PC                              (X)    E-filing Notification
        9 Exchange Pl Ste 600
        Salt Lake City, Utah 84111
        rmitchell@mbmlawyers.com
        clangstron@mbmlawyers.com
        mhillery@mbmlawyers.com
        Attorneys for Blake McDougal
                                                 ( )    U.S. Mail, Postage Prepaid
        Justin T. Toth                           ( )    Hand Delivery
        Maria E. Windham                         ( )    Overnight Mail
        Nathan L. Jepson                         ( )    E-mail
        RAY QUINNEY & NEBEKER PC                 (X)    E-filing Notification
        36 S. State St. STE 1400
        PO Box 45385
        Salt Lake City, Utah 84145
        Jtoth@rqn.com
        mwindham@rqn.com
        njepson@rqn.com
        Attorneys for Spencer Taylor
                                               -3-
Case 2:23-cv-00936-AMA-CMR   Document 107   Filed 02/21/25   PageID.878   Page 4
                                    of 4




                                       /s/ LaNae Holland




                                     -4-
